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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS


 WESTCHESTER PUTNAM COUNTIES                       CASE NO.:
 HEAVY & HIGHWAY LABORERS
 LOCAL 60 BENEFITS FUND, Individually
 and on behalf of all others similarly situated,   DEMAND FOR A JURY TRIAL

                       Plaintiff,

           vs.

 ATKORE INC., WILLIAM E. WALTZ JR.,
 JOHN M. DEITZER, and DAVID P.
 JOHNSON,

                       Defendants.


                            CLASS ACTION COMPLAINT
                 FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS

       Plaintiff Westchester Putnam Counties Heavy & Highway Laborers Local 60 Benefits Fund

(“Plaintiff”), by and through counsel, alleges the following upon information and belief, except as

to allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, its counsel’s investigation, which

includes, without limitation: (a) review and analysis of public filings made by Atkore Inc.

(“Atkore” or the “Company”) with the U.S. Securities and Exchange Commission (the “SEC”);

(b) review and analysis of press releases and other publications disseminated by Defendants

(defined below) and other parties; (c) review of news articles, shareholder communications, and

conference calls concerning Defendants’ public statements; and (d) review of other publicly

available information concerning the Company and the Individual Defendants (defined below).




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                                   NATURE OF THE ACTION

       1.        This is a federal securities class action on behalf of all persons and entities that

purchased Atkore common stock between February 1, 2024 and February 3, 2025, inclusive (the

“Class Period”), against Atkore and certain of its officers and executives (collectively,

“Defendants”), seeking to pursue remedies under Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated thereunder.

       2.        Based in Harvey, Illinois, Atkore purports to be a leading manufacturer of

electrical, safety, and infrastructure products. Among other products, the Company manufactures

polyvinyl chloride (“PVC”) water pipes and electrical conduit pipes (together, “PVC Pipes”). PVC

is a widely used synthetic plastic polymer.

       3.        During the COVID-19 pandemic, shipping costs skyrocketed. As a result, foreign

PVC Pipe manufacturers found themselves unable to profitably sell PVC Pipes in the United

States. Atkore and other U.S.-based PVC Pipe manufacturers took advantage of the absence of

foreign competition, exchanging confidential and competitively sensitive data in order to

artificially inflate PVC Pipe pricing.

       4.        Leading up to the Class Period, shipping prices returned to normal levels following

the pandemic, which led foreign PVC Pipe manufacturers to gradually re-enter the market.

Beginning in late 2022, as the sales price of PVC Pipes began declining, Atkore informed investors

that “part of the pricing outperformance that we’ve enjoyed over the past several years has started

to normalize.”

       5.        Throughout the Class Period, Defendants repeatedly claimed that the post-

pandemic PVC Pipe price declines were based only on normal supply and demand competition

and assured the market that Atkore would continue to be successful in a competitive post-COVID

market. For instance, on February 1, 2024, the first day of the Class Period, Atkore reported


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increased sales volumes for the first quarter of its fiscal year 2024. According to CFO Johnson,

the increased sales volumes “were offset by [] continued pricing normalization,” but CFO Johnson

insisted that this was “within expectations” and that “business [was] back to normal.” As Atkore’s

PVC Pipe pricing continued to degrade, the Company further assured investors that any “price

normalization” reflected “competitive dynamics” and maintained that the Company enjoyed a

“price premium” over its competition due to its “reputation,” “quality,” and “ability to ship.”

       6.      On July 24, 2024, the short seller firm ManBear published a short report titled “Pipe

Price Fixing” (the “Short Report”). The Short Report accuses Atkore and three other PVC Pipe

manufacturers of using the commodity pricing service OPIS to coordinate pricing actions, thereby

fixing PVC Pipe prices. The Short Report asserts that the price fixing scheme “resulted in

massively inflated” PVC Pipe prices that “defy economic logic.” The Short Report further notes

that PVC Pipe prices “remain at extremely elevated levels despite normalized supply chains,

normalized input costs (resin), and weak demand,” with “PVC municipal [water pipe] and conduit

prices” holding “4.7x and 2.7x above pre-Covid levels, respectively.” Just two weeks later, during

an earnings call in connection with Atkore’s financial results for third quarter of fiscal year 2024,

CEO Waltz dismissed the allegations in the Short Report, stating, “I’m going to claim that report

is unsubstantiated from the conclusions it tries to make.”

       7.      Within months of Defendants’ assurances that the price-fixing allegations were

“unsubstantiated,” Atkore was named as a defendant in multiple civil antitrust lawsuits. See, e.g.,

In re PVC Pipe Antitrust Litig., No. 24-cv-7639 (N.D. Ill. filed Aug. 23, 2024). The actions allege

that Atkore and other U.S.-based PVC Pipe manufacturers conspired to artificially inflate the price

of PVC Pipes by exchanging competitively sensitive business information, including information

regarding future PVC Pipe pricing and sales through OPIS.




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        8.      Unbeknownst to investors, Defendants had failed to disclose that: (1) Atkore

engaged in an anticompetitive price-fixing scheme that artificially inflated the price of PVC Pipes;

(2) Atkore reaped significant, unsustainable financial benefits from its anticompetitive conduct;

(3) as Atkore’s price-fixing scheme was exposed, the Company and its price-fixing co-conspirators

were no longer able to artificially inflate the price of PVC Pipes, resulting in a substantial decrease

in the price of PVC Pipes; (4) Atkore’s business and operations were negatively impacted; and

(5) as a result, Defendants’ positive statements Company’s business, operations, and prospects

were materially false and misleading and/or lacked a reasonable basis at all relevant times.

        9.      The truth was revealed before markets opened on February 4, 2025, when Atkore

announced its financial results for the first quarter of fiscal year 2025, reporting net sales of $661.6

million—below analysts’ estimates of $680.7 million. Additionally, Atkore significantly reduced

its adjusted earnings per share (“EPS”) and adjusted earnings before interest, taxes, depreciation

and amortization (“EBITDA”) guidance for the rest of fiscal year 2025, which also missed

analysts’ estimates.

        10.     During the corresponding earnings call that same day, CFO Deitzer disclosed that

Atkore’s “plastic pipe and conduit product category declined mid-single digits during the

quarter[,]” compared to “high single digits in the prior year.” During that same call, CFO Deitzer

attributed the guidance reduction to the forthcoming poor performance of Atkore’s PVC business,

stating, “I’d say roughly $75 million or 3/4 of that is on the PVC side.”

        11.     Analysts immediately reacted. For example, RBC Capital analysts reported that

Atkore’s newly issued guidance “marks the fourth consecutive quarter of a guidance cut . . . and

implies more pricing cuts are needed to protect [Atkore’s] market share,” adding that “[e]ssentially

all pricing gains since COVID have been given back.” Similarly, Roth Capital analysts lowered




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estimates for fiscal years 2025 and 2026, citing “acceleration in pricing pressure for PVC” and

“margin compression.”

       12.     On this news, the price of Atkore common stock fell $15.59 per share, or nearly

20%, from a closing price of $79.72 per share on February 3, 2025, to a closing price of $64.13

per share on February 4, 2025.

       13.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in market value of the Company’s common stock when the truth was disclosed, Plaintiff and other

Class members have suffered significant losses and damages.

                                 JURISDICTION AND VENUE

       14.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       15.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       16.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b), Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts and omissions

charged herein, including the dissemination of materially false and misleading information to the

investing public, and the omission of material information, occurred in substantial part in this

Judicial District, as Atkore is headquartered in this Judicial District.

       17.     In connection with the acts, transactions, and conduct alleged herein, Defendants,

directly and indirectly, used the means and instrumentalities of interstate commerce, including the

U.S. Mail, interstate telephone communications, and the facilities of a national securities exchange.




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                                              PARTIES

        18.     Based in Hawthorne, New York, Plaintiff provides pension and other benefits for

union members. Plaintiff is responsible for the retirement income of these employees and their

beneficiaries. Plaintiff manages approximately $300 million in assets for the benefit of more than

1,500 participants. As set forth in the accompanying certification, incorporated by reference

herein, Plaintiff purchased Atkore common stock during the Class Period and suffered damages as

a result of the federal securities laws violations and false and/or misleading statements and/or

material omissions alleged herein.

        19.     Defendant Atkore is incorporated under the laws of Delaware with its principal

executive offices located in Harvey, Illinois. Atkore’s common stock trades on the New York

Stock Exchange (the “NYSE”) under the ticker symbol “ATKR.”

        20.     Defendant William E. Waltz (“CEO Waltz”) has served as the Company’s President,

Chief Executive Officer (“CEO”), and Director since September 2018.

        21.     Defendant John M. Deitzer (“CFO Deitzer”) has served as the Company’s Vice

President (“VP”) and Chief Financial Officer (“CFO”) since August 9, 2024. Prior to his

promotion to CFO, Deitzer served as VP of Finance in the Company’s electrical business unit.

        22.     Defendant David P. Johnson (“CFO Johnson”) served as the Company’s VP, CFO

and Chief Accounting Officer from August 2018 to August 9, 2024.

        23.     Defendants Waltz,       Deitzer,   and   Johnson     (collectively,   the   “Individual

Defendants”), because of their positions with Atkore, possessed the power and authority to control

the contents of, inter alia, Atkore’s quarterly reports, press releases, and presentations to securities

analysts, money and portfolio managers, and institutional investors, i.e., the market.             The

Individual Defendants were provided with copies of Atkore’s reports and press releases alleged

herein to be misleading prior to, or shortly after, their issuance and had the ability and opportunity


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to prevent their issuance or cause them to be corrected. Because of their positions with the

Company, and their access to material non-public information available to them but not to the

public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public and that the positive representations being

made were then materially false and misleading. The Individual Defendants are liable for the false

and misleading statements pleaded herein.

       24.      Atkore and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

                                            Background

       25.      Headquartered in Harvey, Illinois, Atkore is a leading manufacturer of electrical,

safety, and infrastructure products. The Company offers products used in the construction of

electrical power systems, including metal electrical conduit and fittings, plastic pipe conduit and

fittings, electrical cable and flexible conduit, and plastic pipes for water systems.

       26.      Notably, Atkore’s plastic pipes and pipe conduits are made from PVC, one of the

most widely used plastic polymers. Commodity products like PVC Pipes have been under

heightened scrutiny as the U.S. Department of Justice (“DOJ”) has increased its efforts to examine

anticompetitive practices in supply chains following disruptions and price surges attributed to the

COVID-19 pandemic.

       27.      As the cost of shipping skyrocketed during the COVID-19 pandemic, foreign PVC

Pipe manufacturers could no longer profitably sell their PVC products in the United States.

Because foreign competitors exited the market, Atkore and its U.S.-based competitors were able

to starkly raise the pricing of PVC Pipes, generating historic profit margins. For example, Atkore




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achieved a record net income of $913.4 million for its fiscal year 2022—representing an increase

of $325.6 million year-over-year.

       28.       Leading up to the Class Period, shipping prices returned to normal levels following

the pandemic, which led foreign PVC Pipe manufactures to gradually re-enter the market.

Beginning in late 2022, as the sales price of PVC Pipes began declining, Atkore informed investors

that “part of the pricing outperformance that we’ve enjoyed over the past several years has started

to normalize.”

                    Defendants’ Materially False and Misleading Statements

       29.       The Class Period begins on February 1, 2024 when, before markets opened, Atkore

issued a press release announcing its financial results for the first quarter of its fiscal year 2024,

ended December 29, 2023. In the press release, Atkore reported net sales of $798.5 million—

down 4.2% year-over-year and attributed to, among other things, “decreased average selling prices

across the Company’s products of $130.4 million as a result of expected pricing normalization.”

       30.       During the accompanying earnings call held that same day, CFO Johnson explained

that volume growth was offset by “price normalization,” stating,

                 I’m pleased by our strong volume performance in the quarter with
                 organic volumes up over 13%. These gains were offset by the
                 continued pricing normalization, but this impact was within
                 expectations and aligns with the pricing trends we have been
                 discussing for the past several years.

       31.       During that same earnings call, a Loop Capital Market analyst asked whether there

were “any changes in the competitive landscape.” In response, CEO Waltz claimed there was

“[n]othing of significance,” and “[t]here’s always minor players that try to enter noise level things,

so somebody importing a product because of things.” In response to the same question, CFO

Johnson added, “there are a lot of reasons why [] we do well and that the competitive landscape is

fairly stable year-over-year.”


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         32.     On May 7, 2024, Atkore issued a press release announcing the Company’s financial

results for the second quarter of its fiscal year 2024, ended March 29, 2024. In the press release,

Atkore reported that “[n]et sales decreased by $103.0 million, or 11.5%” year-over-year, and the

Company once again attributed the decrease, in part, to “decreased average selling prices across

the Company’s products . . . as a result of expected pricing normalization.”

         33.     During the related earnings call held that same day, CFO Johnson stated, “We

continued to experience pricing normalization that was discussed in previous quarters[,]” while

assuring investors that “second quarter results were in line with our expectations, both sequentially

and from a year-over-year perspective.” CEO Waltz further assured investors that “we are within

our expectations of the pricing normalization topic.” During the question-and-answer portion of

the call, an analyst asked CEO Waltz to “comment on the significance of any imports of conduit,”

noting that “there seems to be a very small presence of imports.” In response, CEO Waltz stated

that Atkore has a “price premium” due to “our reputation, our quality, [and] our ability to ship.”

         34.     Then, on July 24, 2024, the short seller firm ManBear published a short report titled

“Pipe Price Fixing.” The Short Report accused Atkore and three other PVC Pipe manufacturers

of using the commodity pricing service OPIS to coordinate pricing actions, thereby fixing PVC

Pipe prices. The Report states, in pertinent part:

                 We believe the apparent price fixing has resulted in massively
                 inflated pipe prices and converter margins. These prices appear
                 to defy economic logic, remaining at extremely elevated levels
                 despite normalized supply chains, normalized input costs (resin),
                 and weak demand. Today, PVC municipal [water] and conduit pipe
                 prices remain 4.7x and 2.7x above pre-Covid levels, respectively,
                 according to OPIS. 1




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    Emphasis in original.


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          35.   Less than two weeks later, on August 6, 2024, Atkore held an earnings call in

connection with the Company’s financial results for the third quarter of its fiscal year 2025. During

that call, an RBC analyst specifically asked about the allegations that Atkore and other PVC Pipe

manufacturers were “collu[ding]” to control PVC Pipe pricing. In response, CEO Waltz plainly

stated, “I’m going to claim that report is unsubstantiated from the conclusions it tries to make.”

          36.   Then, from August 2024 to early November 2024, after CEO Waltz assured

investors that the Short Report’s claims were “unsubstantiated,” Atkore was named as a defendant

in multiple civil antitrust lawsuits. See, e.g., In re PVC Pipe Antitrust Litigation, No. 24-cv-7639

(N.D. Ill. filed August 23, 2024) (the “PVC Antitrust Actions”).

          37.   In the same manner as described in the Short Report, the PVC Antitrust Action

allege that Atkore and other U.S.-based PVC Pipe manufacturers exchanged competitively

sensitive business information, including information regarding future PVC Pipe pricing and sales,

through OPIS to artificially inflate the price of PVC Pipes. For example, the PVC Antitrust Actions

allege:

                On June 28, 2024, one week after reporting on the consensus of
                converters to seek a single price increase of 5% over the current
                market level, the OPIS Newsletter reported that all major converters
                raised prices with almost identical pricing in every region they
                served. Defendant Cantex issued price sheets at $396.75/100 ft in
                the East region, $396.75/100 ft in the South Central region, $431.25
                in the North Central region, $402.50/100 ft in the Southwest region,
                and $425.50/100 ft in the Northwest region. Defendants Prime,
                National Pipe, Southern Pipe, and IPEX followed with similar price
                sheets for the regions they serve. Defendant Atkore issued price
                sheets at $396.75/100 ft in the East and South Central regions,
                $431.25/100 ft in the North, and $402.50/100 ft in the Southwest.

Complaint ¶ 49, In re PVC Pipe Antitrust Litig., No. 24-cv-7639 (N.D. Ill. Aug. 23,
2024), ECF No. 1.




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       38.     On November 21, 2024, Atkore filed its Annual Report on Form 10-K for its fiscal

year 2024, ended September 30, 2024 (“2024 10-K”). In the 2024 10-K, Atkore responded to the

filing of the PVC Antitrust Actions, stating:

               The Company believes there are defenses, both factual and legal, to
               the allegations in these various proceedings and the Company plans
               to vigorously defend itself. As these proceedings are in the early
               stages, it is not possible for the Company to predict any outcome or
               estimate the amount of loss, if any, which could be associated with
               any adverse decision. While the Company does not believe that any
               of these proceedings will have a material adverse effect on its
               financial condition, the Company cannot give assurance that the
               proceedings will not have a material effect on its results of
               operations.

       39.     That same day, Atkore issued a press release announcing its financial results for the

fourth quarter and full year of fiscal 2024, ended September 30, 2024. In the press release, the

Company reported fourth quarter net sales of $788.3 million and full fiscal year 2024 net sales of

$3.2 billion, representing year-over-year decreases of approximately 9%. Additionally, Atkore

reported net sales guidance of $655 million to $705 million for the first quarter of fiscal year

2025—below analysts’ estimates of $743.6 million.

       40.     Discussing the impacts to the Company’s adjusted EPS during the corresponding

earnings call held later that day, CEO Waltz claimed, “[A]s we discussed earlier, our price versus

cost assumptions reflect various competitive dynamics, including new domestic competition and

continued impacts from imported products.” CFO Deitzer further disclosed that the Company’s

adjusted EBITDA were affected due to “pricing normalization,” stating, “Net sales in our Electrical

segment were $565 million, and our adjusted EBITDA margins compressed due to continued

pricing normalization in our PVC products,” as well as “pressure from import competition in our

steel conduit products.”




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        41.     The above statements identified in ¶¶ 29-40 were materially false and/or misleading

and failed to disclose material adverse facts about the Company’s business, operations, and

prospects to make the statements made, in light of the circumstances under which they were made,

not false and misleading. Specifically, Defendants failed to disclose that: (1) Atkore engaged in

an anticompetitive price-fixing scheme that artificially inflated the price of PVC Pipes; (2) Atkore

reaped significant, unsustainable financial benefits from its anticompetitive conduct; (3) as

Atkore’s price-fixing scheme was exposed, the Company and its price-fixing co-conspirators were

no longer able to artificially inflate the price of PVC Pipes, resulting in a substantial decrease in

the price of PVC Pipes; (4) Atkore’s business and operations were negatively impacted; and (5) as

a result, Defendants’ positive statements Company’s business, operations, and prospects were

materially false and misleading and/or lacked a reasonable basis at all relevant times.

                                       The Truth Is Revealed

        42.     The truth was revealed before markets opened on February 4, 2025, when Atkore

announced its financial results for the first quarter of fiscal year 2025, reporting net sales of $661.6

million, down 17% year-over-year and below analysts’ estimates of $680.7 million. Additionally,

Atkore provided guidance for the rest of fiscal year 2025, including adjusted EPS of $5.75 to $6.85

and adjusted EBITDA of $375 million to $425 million—representing a significant reduction from

its previously issued guidance of $7.80 to $8.90 and $475 million to $525 million, respectively.

        43.     During the corresponding earnings call held later that day, CEO Waltz expressed

disappointment regarding Atkore’s fiscal 2025 EBITDA guidance, as the Company “continue[s]

to operate in these conditions[,]” and that the “challenges we are navigating are not what we

anticipated at the end of fiscal year 2022 when we signal normalization of our record profits.”




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       44.     During that same call, CFO Deitzer disclosed that Atkore’s “plastic pipe and

conduit product category declined mid-single digits during the quarter[,]” compared to “high single

digits in the prior year.” Moreover, CFO Deitzer reiterated that the EBITDA guidance reduction

was attributed to the poor performance of Atkore’s PVC business, stating, “I’d say roughly $75

million or 3/4 of that is on the PVC side.”

       45.     Analysts were stunned by the revelations. For example, RBC Capital analysts

reported that Atkore’s newly issued guidance “marks the fourth consecutive quarter of a guidance

cut . . . and implies more pricing cuts are needed to protect [Atkore’s] market share,” adding that

“[e]ssentially all pricing gains since COVID have been given back.” Similarly, Roth Capital

analysts lowered estimates for fiscal year 2025 and 2026, citing “acceleration in pricing pressure

for PVC” and “margin compression.”

       46.     On this news, the price of Atkore common stock fell $15.59 per share, or nearly

20%, from a closing price of $79.72 per share on February 3, 2025, to a closing price of $64.13

per share on February 4, 2025.

                                 Post-Class Period Developments

       47.     On February 14, 2025, Atkore issued a press release announcing that on February

13, 2025, the Company had received a grand jury subpoena from the DOJ Antitrust

Division. Atkore disclosed that the subpoena called for the “production of documents relating to

the pricing of the Company’s PVC pipe and conduit products.”

                               CLASS ACTION ALLEGATIONS

       48.     Plaintiff brings this action as a class action pursuant to Rule 23(a) and (b)(3) of the

Federal Rules of Civil Procedure on behalf of a class, consisting of all persons and entities that

purchased Atkore common stock between February 1, 2024 and February 3, 2025, inclusive, and




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who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers,

and directors of the Company, at all relevant times, members of their immediate families and their

legal representatives, heirs, successors, or assigns, and any entity in which Defendants have or had

a controlling interest.

        49.     The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that there are at least

hundreds or thousands of members in the proposed Class. Throughout the Class Period, common

stock of Atkore actively traded on the NYSE under the symbol “ATKR.” Millions of Atkore shares

were traded publicly during the Class Period on the NYSE. As of January 29, 2025, the Company

had more than 34 million shares of common stock outstanding. Record owners and other members

of the Class may be identified from records maintained by Atkore or its transfer agent and may be

notified of the pendency of this action by mail, using a form of notice similar to that customarily

used in securities class actions.

        50.     Plaintiff’s claims are typical of the claims of the other members of the Class as all

members of the Class were similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        51.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests that conflict with those of the Class.

        52.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:




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                  a)     whether Defendants violated the Exchange Act by the acts and omissions as

alleged herein;

                  b)     whether Defendants knew or recklessly disregarded that their statements

and/or omissions were false and misleading;

                  c)     whether documents, press releases, and other statements disseminated to the

investing public and the Company’s shareholders misrepresented material facts about the business,

operations, and prospects of Atkore;

                  d)     whether statements made by Defendants to the investing public

misrepresented and/or omitted to disclose material facts about the business, operations, and

prospects of Atkore;

                  e)     whether the market price of Atkore common stock during the Class Period

was artificially inflated due to the material misrepresentations and failures to correct the material

misrepresentations complained of herein; and

                  f)     the extent to which the members of the Class have sustained damages and

the proper measure of damages.

       53.        A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this suit as a class action.

                           UNDISCLOSED ADVERSE INFORMATION

       54.        The market for Atkore common stock was an open, well-developed, and efficient

market at all relevant times. As a result of the materially false and/or misleading statements and/or

omissions particularized in this Complaint, Atkore’s common stock traded at artificially inflated


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prices during the Class Period. Plaintiff and the other members of the Class purchased Atkore’s

common stock relying upon the integrity of the market price of the Company’s common stock and

market information relating to Atkore and have been damaged thereby.

       55.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of the Company’s common stock, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

set forth herein, not false and/or misleading. The statements and omissions were materially false

and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about Atkore’s business, operations, and prospects as alleged herein.

These material misstatements and/or omissions had the cause and effect of creating in the market

an unrealistically positive assessment of the Company and its business, thus causing the

Company’s common stock to be overvalued and artificially inflated or maintained at all relevant

times. Defendants’ materially false and/or misleading statements directly or proximately caused

or were a substantial contributing cause of the damages sustained by Plaintiff and other members

of the Class who purchased the Company’s common stock at artificially inflated prices and were

harmed when the truth was revealed.

                                 SCIENTER ALLEGATIONS

       56.     As alleged herein, Defendants acted with scienter in that Defendants knew or were

reckless as to whether the public documents and statements issued or disseminated in the name of

the Company were materially false and misleading; knew or were reckless as to whether such

statements or documents would be issued or disseminated to the investing public, and knowingly

and substantially participated or acquiesced in the issuance or dissemination of such statements or

documents as primary violations of the federal securities laws.




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        57.     As set forth herein, the Individual Defendants, by virtue of their receipt of

information reflecting the true facts regarding Atkore, their control over, receipt, and/or

modification of Atkore’s allegedly materially misleading statements and omissions, and/or their

positions with the Company, which made them privy to confidential information concerning

Atkore, participated in the fraudulent scheme alleged herein.

                   INAPPLICABILITY OF STATUTORY SAFE HARBOR

        58.     As a result of their purchases of Atkore’s common stock during the Class Period,

Plaintiff and other members of the Class suffered economic loss, i.e., damages, under the federal

securities laws.

        59.     In the alternative, to the extent that the statutory safe harbor is determined to apply

to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Atkore who knew that the statement was false when made.

                                        LOSS CAUSATION

        60.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss, i.e., damages, suffered by Plaintiff and the Class.

        61.     As detailed herein, during the Class Period, Defendants made materially false and

misleading statements and omissions and engaged in a scheme to deceive the market. This

artificially inflated the prices of Atkore’s common stock and operated as a fraud or deceit on the

Class. When Defendants’ prior misrepresentations, information alleged to have been concealed,

fraudulent conduct, and/or the effect thereof were disclosed to the market, the price of Atkore’s

stock fell precipitously, as the prior artificial inflation came out of the price.


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                    APPLICABILITY OF PRESUMPTION OF RELIANCE
                        (FRAUD-ON-THE-MARKET DOCTRINE)

       62.     The market for Atkore common stock was open, well-developed, and efficient at

all relevant times. As a result of the materially false and/or misleading statements and/or failures

to disclose particularized in this Complaint, Atkore common stock traded at artificially inflated

and/or maintained prices during the Class Period. Plaintiff and other members of the Class

purchased the Company’s common stock relying upon the integrity of the market price of Atkore

common stock and market information relating to Atkore and have been damaged thereby.

       63.     At all times relevant, the market for Atkore common stock was an efficient market

for the following reasons, among others:

               a)      Atkore was listed and actively traded on the NYSE, a highly efficient and

automated market;

               b)      As a regulated issuer, Atkore filed periodic public reports with the SEC

and/or the NYSE;

               c)      Atkore regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               d)      Atkore was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       64.     As a result of the foregoing, the market for Atkore common stock promptly digested

current information regarding Atkore from all publicly available sources and reflected such



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information in the Company’s stock price. Under these circumstances, all purchasers of Atkore

common stock during the Class Period suffered similar injury through their purchase of stock at

artificially inflated prices, and a presumption of reliance applies.

        65.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded in Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business, operations, and prospects—information that

Defendants were obligated to disclose but did not—positive proof of reliance is not a prerequisite

to recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in the making of investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                              COUNTS AGAINST DEFENDANTS

                                              COUNT I

                      For Violations of Section 10(b) of the Exchange Act and
                    Rule 10b-5 Promulgated Thereunder Against All Defendants

        66.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        67.     Defendants carried out a plan, scheme, and course of conduct that was intended to

and, throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and other

Class members, as alleged herein; (ii) artificially inflate and maintain the market price of Atkore’s

common stock; and (iii) cause Plaintiff and other members of the Class to purchase Atkore




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common stock at artificially inflated prices. In furtherance of this unlawful scheme, plan, and

course of conduct, Defendants, and each of them, took the actions set forth herein.

       68.     Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of conduct that

operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort to

maintain artificially high market prices for Atkore common stock in violation of Section 10(b) of

the Exchange Act and Rule 10b-5 promulgated thereunder. All Defendants are sued either as

primary participants in the wrongful and illegal conduct charged herein or as controlling persons

as alleged below.

       69.     Defendants, individually and in concert, directly and indirectly, by the use, means,

or instrumentalities of interstate commerce and/or the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Atkore’s business,

operations, and prospects, as specified herein. Defendants employed devices, schemes, and

artifices to defraud, while in possession of material adverse non-public information and engaged

in acts, practices, and a course of conduct as alleged herein in an effort to assure investors of

Atkore’s business, operations, and prospects, which included the making of, or the participation in

the making of, untrue statements of material facts and/or omitting to state material facts necessary

in order to make the statements made about Atkore and its business, operations, and future

prospects in light of the circumstances under which they were made, not misleading, as set forth

more particularly herein, and engaged in transactions, practices, and a course of conduct of

business that operated as a fraud and deceit upon the purchasers of the Company’s common stock

during the Class Period.




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       70.     Each of the Individual Defendants’ primary liability and controlling person liability,

arises from the following facts: (i) each of the Individual Defendants was a high-level executive

and/or director at the Company and a member of the Company’s management team or had control

thereof; (ii) each of the Individual Defendants, by virtue of their responsibilities and activities as

a senior officer and/or director of the Company, was privy to and participated in the creation,

development, and reporting of the Company’s business, operations, and prospects; (iii) each of the

Individual Defendants enjoyed significant personal contact and familiarity with the other

Defendants and was advised of and had access to, other members of the Company’s management

team, internal reports, and other data and information about the Company’s financial condition and

performance at all relevant times; and (iv) each of the Individual Defendants was aware of the

Company’s dissemination of information to the investing public, which they knew and/or

recklessly disregarded was materially false and misleading.

       71.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Atkore’s operating condition, business practices, and

prospects from the investing public and supporting the artificially inflated and/or maintained price

of its common stock. As demonstrated by Defendants’ misstatements of the Company’s business,

operations, and prospects, Defendants, if they did not have actual knowledge of the

misrepresentations and/or omissions alleged, were reckless in failing to obtain such knowledge by

deliberately refraining from taking those steps necessary to discover whether those statements

were false or misleading.




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        72.    As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Atkore

common stock was artificially inflated, and relying directly or indirectly on the false and

misleading statements made by Defendants or upon the integrity of the markets in which the

securities trade, and/or in the absence of material adverse information that was known or recklessly

disregarded by Defendants, but not disclosed in public statements by Defendants, Plaintiff and the

other members of the Class purchased Atkore common stock during the Class Period at artificially

inflated prices and were damaged thereby.

        73.    At the time of said misrepresentations and omissions, Plaintiff and other members

of the Class were ignorant of their falsity and believed them to be true. Had Plaintiff and the other

members of the Class and the marketplace known of the truth regarding the problems that Atkore

was experiencing, which were not disclosed by Defendants, Plaintiff and other members of the

Class would not have purchased Atkore common stock, or, if they had purchased such shares

during the Class Period, they would not have done so at the artificially inflated prices that they

paid.

        74.    By virtue of the foregoing, Defendants each violated § 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        75.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their purchases of the Company’s

common stock during the Class Period.




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                                             COUNT II

                      For Violations of Section 20(a) of the Exchange Act
                              Against All Individual Defendants

        76.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        77.     The Individual Defendants acted as controlling persons of Atkore within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions with the Company, participation in, and/or awareness of the Company’s operations, and

intimate knowledge of the false statements filed by the Company with the SEC and disseminated

to the investing public, the Individual Defendants had the power to influence and control and did

influence and control, directly or indirectly, the decision-making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are false and

misleading. Each of the Individual Defendants was provided with or had unlimited access to

copies of the Company’s reports, press releases, public filings, and other statements alleged by

Plaintiff to be misleading prior to and/or shortly after these statements were issued and had the

ability to prevent the issuance of the statements or cause the statements to be corrected.

        78.     In particular, the Individual Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, had the power to control or influence

the particular transactions giving rise to the securities violations as alleged herein, and exercised

the same.

        79.     As set forth above, Defendants each violated § 10(b) and Rule 10b-5 by their acts

and omissions as alleged in this Complaint. By virtue of their position as controlling persons, the

Individual Defendants are liable pursuant to § 20(a) of the Exchange Act. As a direct and

proximate result of these Defendants’ wrongful conduct, Plaintiff and other members of the Class



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suffered damages in connection with their purchases of the Company’s common stock during the

Class Period.

                                     PRAYER FOR RELIEF

       80.      WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for relief

and judgment as follows:

       a)       Declaring this action to be a class action pursuant to Rules 23(a) and (b)(3) of the

                Federal Rules of Civil Procedure on behalf of the Class defined herein;

       b)       Awarding Plaintiff and the other members of the Class damages in an amount that

                may be proven at trial, together with interest thereon;

       c)       Awarding Plaintiff and the members of the Class pre-judgment and post-judgment

                interest, as well as their reasonable attorneys’ and experts’ witness fees and other

                costs; and

       d)       Awarding such other and further relief as this Court deems appropriate.

                                         JURY DEMAND

       81.      Plaintiff demands a trial by jury.

Dated: February 21, 2025                       Respectfully submitted,

                                               By: /s/ Carol V. Gilden

                                               COHEN MILSTEIN SELLERS & TOLL PLLC
                                               Carol V. Gilden (Bar No. 6185530)
                                               190 South LaSalle Street
                                               Suite 1705
                                               Chicago, IL 60603
                                               Tel.: (312) 629-3737
                                               Fax: (312) 357-0369
                                               cgilden@cohenmilstein.com

                                               Liaison Counsel for Plaintiff Westchester Putnam
                                               Counties Heavy & Highway Laborers Local 60
                                               Benefits Fund



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                                  SAXENA WHITE P.A.
                                  Marco A. Dueñas (pro hac vice forthcoming)
                                  10 Bank Street, Suite 882
                                  White Plains, NY 10606
                                  Tel.: (914) 437-8551
                                  Fax: (888) 631-3611
                                  mduenas@saxenawhite.com

                                  Counsel for Plaintiff Westchester Putnam Counties
                                  Heavy & Highway Laborers Local 60 Benefits Fund




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